                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

IN RE:                                         §
                                               §
GRCDALLASHOMES, LLC                            §             Case No. 19-41186
                                               §
                                               §
                 Debtor.                       §

Contested matter                               Date of hearing and nature of proceeding:
                                               November 1, 2022 at 9:30 a.m.

                                               Hearing on Motion to Approve Settlement [372]


                   WITNESS AND EXHIBIT LIST OF JOHN CALDWELL

         NOW COMES John Caldwell and submits the following Witness and Exhibit List in

connection with the above referenced proceeding:

                                           WITNESSES

         1.   Christopher Moser, Plan Agent
         2.   Kazem Daneshmandi
         3.   Any witness listed by any other party.
         4.   Any witness necessary for rebuttal.

                                            EXHIBITS

    1. General Warranty Deed dated February 23, 2022 for 4354 Sunset Circle, The Colony,
       Texas;
    2. General Warranty Deed dated February 23, 2022 for 4358 Sunset Circle, The Colony,
       Texas;
    3. General Warranty Deed dated April 14, 2022 for 1005 Shady Lane, Keller, Texas;
    4. Residential Lease dated February 15, 2022 for 2505 Oak Grove, Little Elm, Texas:
    5. Any exhibit proposed by any other party;
    6. Any exhibit necessary for rebuttal.




WITNESS AND EXHIBIT LIST OF JOHN CALDWELL
(Motion to Compromise)                                                              Page 1 of 2
                                             Respectfully submitted,

                                             /s/ Robert M Nicoud, Jr.
                                             Robert M. Nicoud, Jr.
                                             SBN 15017900
                                             Nicoud Law
                                             10440 N. Central Expressway
                                             Suite 800
                                             Dallas, Texas 75231
                                             (214) 540-7542
                                             (214) 265-6501 fax
                                             rmnicoud@dallas-law.com

                                             ATTORNEYS FOR JOHN CALDWELL



                              CERTIFICATE OF SERVICE


       The undersigned certifies that a true and correct copy of the foregoing document
was served upon:

Attorney for Debtor:

Clayton L. Everett
515 E. Border Street
Arlington, TX 76010

Christopher J. Moser, Plan Agent
2001 Bryan Street, Suite 1800
Dallas, Texas 75201-4240


via electronic means or by U.S. First Class Mail, on the 28th day of October, 2022.

                                             /s/ Robert M Nicoud, Jr.




WITNESS AND EXHIBIT LIST OF JOHN CALDWELL
(Motion to Compromise)                                                            Page 2 of 2
